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                     UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA
                             SOUTHERN DIVISION



   CHAZZ ANDRE JACKSON,                 No. SA CV 19-01384-DMG (DFM)

               Petitioner,
                                        Order Accepting Report and
                                        Recommendation of United States
                    v.
                                        Magistrate Judge
   CHRISTIAN PFEIFFER,

               Respondent.



        Under 28 U.S.C. § 636, the Court has reviewed the Petition, the other
  records on file herein, and the Report and Recommendation of the United
  States Magistrate Judge. Further, the Court has engaged in a de novo review of
  those portions of the Report and Recommendation to which objections have
  been made. The Court accepts the report, findings, and recommendations of
  the Magistrate Judge.
        IT IS THEREFORE ORDERED that Judgment be entered denying the
  Petition.


   DATED: November 30, 2021                 ____________________       ____
                                            DOLLY M. GEE
                                            United States District Judge
